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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                           )
                                                   )
              v.                                   )      Criminal No. 15-10338-FDS
                                                   )
6.     HERZZON SANDOVAL                            )
       a/k/a “CASPER,”                             )
                                                   )
7.     EDWIN GUZMAN                                )
       a/k/a “PLAYA,”                              )
                                                   )
                     Defendants                    )

          GOVERNMENT’S OPPOSITION TO DEFENDANTS’ MOTION
          IN LIMINE TO REQUIRE THE GOVERNMENT TO PRESENT
        A PROFFER OF PROOF ON CO-CONSPIRATOR DECLARATIONS

       Defendants Edwin Guzman, a/k/a “Playa,” and Herzzon Sandoval, a/k/a “Casper,”

request that the government make a pretrial proffer of proof as to the admissibility of co-

conspirator declarations it intends to offer at trial. (D.1751, 1768). The government provided

this information in its Motion in Limine to Admit Co-Conspirator Statements filed on January 8,

2018 (D.1781). The Court should therefore deny the defendants’ motion in limine as moot.

                                           Respectfully submitted,

                                           ANDREW E. LELLING
                                           United States Attorney

                                     By:   /s/ Kelly Begg Lawrence
                                           KELLY BEGG LAWRENCE
                                           CHRISTOPHER POHL
                                           Assistant United States Attorneys
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                               CERTIFICATE OF SERVICE

        I hereby certify that this document, filed through the Court’s Electronic Court Filing
(ECF) system on January 16, 2018, will be sent electronically to the registered participants as
identified on the Notice of Electronic Filing (NEF).

                                    By:    /s/ Kelly Begg Lawrence
                                           KELLY BEGG LAWRENCE
                                           Assistant United States Attorney




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